Case 2:23-cv-06603-FLA-AJR                   Document 16           Filed 09/28/23           Page 1 of 1 Page ID
                                                   #:137
                                                                                             Natasha Alexander-Mingo
                                            United States District Court              Chief Probation & Pretrial Services Officer
                                                Central District of California           255 East Temple Street, Suite 1410
                                                                                               Los Angeles, CA 90012
                                                 Office of the Clerk
                                                                                              Cristina M. Squieri Bullock
                                                                                             Chief Deputy of Administration
                                                                                             350 West 1st Street, Suite 4311
             Kiry K. Gray                                                                       Los Angeles, CA 90012
District Court Executive / Clerk of Court
     350 West 1st Street, Suite 4311                                                                   Maya Roy
         Los Angeles, CA 90012                                                                 Chief Deputy of Operations
                                                                                           255 East Temple Street, Suite TS-134
                                                                                                 Los Angeles, CA 90012

                                                    September 28, 2023

        Superior Court for the State of California, Los Angeles
        300 East Olive
        Burbank, CA 91502

 Re: Case Number:       2:23−cv−06603−FLA−AJR
     Previously Superior Court Case No.     23BBCV01400
     Case Name:       Armen Minassian v. Josef Essavi et al

 Dear Sir/Madam:

       Pursuant to this Court’s ORDER OF REMAND issued on                        9/27/23       , the above−referenced case
 is hereby remanded to your jurisdiction.

        Attached is a certified copy of the ORDER OF REMAND and a copy of the docket sheet from this Court.

       Please acknowledge receipt of the above by signing the enclosed copy of this letter and returning it to the
 location shown below. Thank you for your cooperation.

 United States Courthouse
 255 East Temple Street, Suite TS134
 Los Angeles, CA 90012


                                                                      Respectfully,

                                                                      Clerk, U.S. District Court

                                                                      By: /s/ Rebeca D Olmos
                                                                         Deputy Clerk
                                                                         rebeca_olmos@cacd.uscourts.gov
 Encls.
 cc: Counsel of record

 Receipt is acknowledged of the documents described above.



                                                                      Clerk, Superior Court


                                                                      By:
 Date                                                                       Deputy Clerk




  G−17 (01/23)         LETTER OF TRANSMITTAL − REMAND TO SUPERIOR COURT
